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12
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13
14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17
18   IN RE GOOGLE PLAY CONSUMER
     ANTITRUST LITIGATION
19
     RELATED ACTIONS:                                No. 3:20-CV-05761-JD
20
     Epic Games Inc. v. Google LLC et al.,           CONSUMER PLAINTIFFS’ NOTICE
21   Case No. 3:20-cv-05671-JD                       OF MOTION, MOTION FOR CLASS
22                                                   CERTIFICATION, AND
     In re Google Play Developer Antitrust
                                                     MEMORANDUM IN SUPPORT
23   Litigation, Case No. 3:20-cv-05792-JD
24   State of Utah, et al., v. Google LLC, et al.,   Hearing Date: August 4, 2022
     Case No. 3:21-cv-05227-JD                       Hearing Time: 10:00 a.m.
25                                                   Courtroom: Courtroom 11, 19th Floor
     Match Group, LLC, et al. v. Google LLC, et      Judge: The Honorable James Donato
26   al., Case No. 3:22-cv-02746-JD
27
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 1            NOTICE OF MOTION AND MOTION FOR CLASS CERITIFICATION

 2          PLEASE TAKE NOTICE that on August 4, 2022, at 10:00 a.m., before the Honorable

 3   James Donato, of the United States District Court of the Northern District of California, San Fran-

 4   cisco Division, 450 Golden Gate Avenue, San Francisco, California, Courtroom 11, 19th Floor,

 5   Plaintiffs Mary Carr, Daniel Egerter, Zack Palmer, Serina Moglia, Matthew Atkinson, and Alex

 6   Iwamoto, on behalf of themselves and all others similarly situated, will and do now move the Court

 7   for an order granting Plaintiffs’ Motion for Class Certification pursuant to Federal Rules of Civil

 8   Procedure 23.

 9          Plaintiffs seek entry of an order: (1) certifying a proposed Rule 23(b)(3) class; (2) certifying

10   a proposed Rule 23(b)(2) class; (3) appointing Plaintiffs Mary Carr, Daniel Egerter, Zack Palmer,

11   Serina Moglia, Matthew Atkinson, and Alex Iwamoto as representatives of the classes; and (4) ap-

12   pointing Karma M. Giulianelli of Bartlit Beck LLP and Hae Sung Nam of Kaplan Fox & Kil-

13   sheimer LLP as Co-Lead Class Counsel for the classes. Plaintiffs propose that the classes for their

14   Sherman Act Sections 1 and 2 claims (Counts 1-6) as well as their Cartwright Act (Counts 7-10)

15   and Unfair Competition (Count 11) claims, be defined as follows:

16         RULE 23(b)(3) MULTISTATE DAMAGES CLASS:
17          All persons in the following U.S. states and territories:

18             Alabama, Georgia, Hawaii, Illinois, Kansas, Maine, Michigan, Ohio, Penn-
               sylvania, South Carolina, Wisconsin, Wyoming, American Samoa, Guam,
19             Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands

20          who paid for an app through the Google Play Store1 or paid for in-app digital content
            (including subscriptions or ad-free versions of apps) through Google Play Billing on
21          or after August 16, 2016, to the present.

22         RULE 23(b)(2) MULTISTATE INJUNCTIVE RELIEF CLASS:
            All persons in the following U.S. states and territories:
23
               Alabama, Georgia, Hawaii, Illinois, Kansas, Maine, Michigan, Ohio, Penn-
24             sylvania, South Carolina, Wisconsin, Wyoming, American Samoa, Guam,
               Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands
25
            who currently own a mobile phone or tablet with an authorized and preinstalled ver-
26          sion of Google’s Android OS capable of accessing the Google Play Store.
27
28   1
      Capitalized terms “Google Play Store,” “Google Play Billing,” and “Defendants” are used in the
     same sense as defined in the operative consumer Complaint. ECF No. 241.


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 1         Excluded from both Classes are Defendants and their officers, directors, employees,
           and successors; any person or entity who has (or had during the class period) a con-
 2         trolling interest in any Defendant; any affiliate, legal representative, heir, or assign of
           any Defendant and any person acting on behalf of any Defendant; any judicial officer
 3         presiding over this action and the members of those officers’ immediate families and
           judicial staffs; all governments and their agencies; and any juror assigned to this ac-
 4         tion.
 5
            This motion is based upon this Notice of Motion, the accompanying Memorandum of
 6
     Points and Authorities, all filed supportive declarations and exhibits, the expert reports of Dr. Hal
 7
     Singer and Dr. Douglas Schmidt, the records on file in this action, and any argument that may be
 8
     presented at or before the hearing on this Motion.
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2       For years, Google has engaged in exclusionary practices that have allowed it to obtain a dom-

 3   inant position in the market for distributing Android mobile device applications (apps) and to

 4   thwart rival app stores from emerging. Google uses its power to inflate the prices of Android apps

 5   by taking, with limited exceptions, a 30% slice of every app sale through the Google Play Store.

 6   Google has also unlawfully extended its monopoly power in the Android App Distribution Market

 7   to the In-App Aftermarket through its requirement that developers use Google’s billing services

 8   for all in-app sales and its prohibition on steering to alternate providers—allowing Google to take

 9   a cut in perpetuity of every subsequent purchase of digital content in each app.2

10           Internal Google documents reveal that its meteoric rise against such titans as Amazon,

11   Samsung, AT&T, T-Mobile, Motorola, and Verizon was the product of a calculated, multifaceted

12   strategy to eliminate competition. That strategy included an array of conduct that courts have long

13   found to be exclusionary—bribes, deception, contractual restrictions, and pretextual technological

14   barriers—which secured and maintain the Play Store’s insurmountable lead over potential com-

15   petitors.

16           The Consumer Plaintiffs purchased apps from the Play Store or made in-app purchases

17   through Google Play Billing. Consumers paid Google directly for these purchases, and, accord-

18   ingly, are direct purchasers who may sue Google under federal antitrust laws. Apple Inc. v. Pepper,

19   139 S. Ct. 1514, 1520 (2019). But for Google’s anticompetitive conduct, Plaintiffs and class mem-

20   bers would have paid lower prices for apps and in-app purchases and would have benefitted from

21   expanded choice. Plaintiffs seek damages from and injunctive relief against Google, and therefore

22   seek certification of both a Rule 23(b)(3) damages class of consumers and a (b)(2) injunctive relief

23   class of current owners of devices operating with an authorized version of Google’s Android OS.3

24
25
     2
       “Android App Distribution Market” and “In-App Aftermarket” are defined in the Class Certifi-
26   cation Report of Hal J. Singer, Ph.D. Ex. 2 (Singer Rpt.) ¶¶ 2, 22-32. All exhibit citations are
27   citations to the exhibits to the Giulianelli Declaration, filed herewith.
     3
       As used in this memorandum, “Android OS” refers to Google’s licensed version of Android, as
28   opposed to other versions of the freely available “open-source” version. See Ex. 4 (Expert Report
     of D. Schmidt) at 8-9.


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 1          Plaintiffs’ claims depend upon central, common questions of fact and law, each of which

 2   focuses on Google’s conduct and is capable of classwide resolution. They include: (1) whether

 3   Google has monopoly power in the Android App Distribution Market and the In-App Aftermarket;

 4   (2) whether Google’s contractual restrictions on manufacturers, carriers, and developers are un-

 5   reasonable restraints of trade; and (3) whether Google’s practices impacted class members and

 6   resulted in supra-competitive prices paid by consumers. With respect to the last issue, Plaintiffs

 7   have developed expert economic evidence capable of demonstrating that Google did indeed cause

 8   classwide antitrust injury. That evidence will show that virtually all members of the proposed class

 9   were injured by Google’s “coercive activity,” “prevent[ing] its victims from making free choices

10   between market alternatives,” which constitutes cognizable antitrust injury. Ellis v. Salt River Pro-

11   ject Agric. Improvement & Power Dist., 24 F.4th 1262, 1274 (9th Cir. 2022). That evidence also

12   includes a methodology for calculating aggregate damages to the class, as well as class members’

13   individual damages.

14          Because common questions about Google’s conduct will be the focus at trial, Plaintiffs
15   satisfy Rule 23(b)(3)’s requirement that common questions “predominate over any questions af-
16   fecting only individual members.” None of the differences among class members (for example,
17   which specific purchases were made) are of the kind that defeat class certification. Olean Whole-
18   sale Grocery Coop., Inc. v. Bumble Bee Foods, LLC, 31 F.4th 651, 678 (9th Cir. Apr. 8, 2022) (en
19   banc) (common impact can be found “even when the market involves diversity in products, mar-
20
     keting, and prices”); Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (certification is
21
     proper where common issues predominate even where “other important matters will have to be
22
     tried separately, such as damages or some affirmative defenses peculiar to some individual class
23
     members”). Certification of an injunctive relief class is appropriate because Google “has acted or
24
     refused to act on grounds that apply generally to the class.” Fed. R. Civ. P. 23(b)(2).
25
             As explained in further detail below, the Court should certify classes under both Rule
26
     23(b)(3) and (b)(2), appoint Plaintiffs as class representatives, and appoint Karma M. Giulianelli
27
     of Bartlit Beck LLP and Hae Sung Nam of Kaplan Fox & Kilsheimer LLP as co-lead class counsel.
28



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 1                                STATEMENT OF COMMON FACTS

 2
     I.     THE PROPOSED CLASSES AND THE JOINT PROSECUTION AGREEMENT
 3          WITH THE STATES

 4          The classes Plaintiffs propose differ from those pleaded.4 The proposed Rule 23(b)(3) class
 5   is limited to seventeen states and territories in lieu of the nationwide class pleaded because Plain-
 6   tiffs have entered a Cooperation and Joint Prosecution Agreement (the “Joint Prosecution Agree-
 7   ment”) with Attorneys General who have brought parens patriae claims. See Ex. 1. To pursue
 8   consumers’ claims against Google most effectively and efficiently, Plaintiffs’ Counsel and the
 9   thirty-nine Attorneys General asserting parens patriae claims in this case agreed in the Joint Pros-
10   ecution Agreement that class certification would be sought only for consumers in states, districts
11   and territories that have not asserted a parens patriae claim in this action.5 Plaintiffs’ Counsel and
12   the Attorneys General also agreed to continue working jointly for the benefit of all U.S. consumers.
13          A second difference in the proposed classes is that Plaintiffs do not seek certification of a
14   “repealer states” class. Because Google has consistently included a choice-of-law provision in its
15   user agreements designating California law as controlling in litigation brought by users, California
16   law governs the state law claims of all class members, regardless of where they reside and regard-
17   less of whether a particular state has “repealed” Illinois Brick.
18          Plaintiffs have also proposed a Rule 23(b)(2) injunctive relief class in part based on the
19   Supreme Court’s recognition that “individualized monetary claims belong in Rule 23(b)(3),” while
20   “Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide relief
21   to each member of the class.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011). The
22   proposed (b)(2) class does not completely overlap with the proposed (b)(3) class, in that the former
23   is limited to current Android users, while the latter includes anyone who was an Android user who
24   purchased an app or in-app digital content using Google Play Billing during the class period.
25   4
       See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583 (N.D. Cal. 2010) (permit-
     ting adjustments to class definition at the class certification stage); Castellar v. Mayorkas, No. 17-
26   cv-00491-BAS-AHG, 2021 U.S. Dist. LEXIS 170342 (S.D. Cal. Sept. 8, 2021) (“The definition
27   of the class at the class certification stage may diverge from that set forth in the Complaint ....”).
     5
       If for any reason a State cannot or does not pursue its parens patriae claims, Rule 23 provides
28   the necessary flexibility to expand a class to include residents of that State, as Rule 23 permits the
     Court to modify a certified class.


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 1   App Distribution Market, Dr. Singer uses the Rochet-Tirole model, a widely cited model that en-

 2   ables economists to estimate competitive prices in a two-sided market. See Ohio v. American

 3   Express, 138 S. Ct. 2274, 2281 (2018) (citing Jean-Charles Rochet and Jean Tirole, Platform Com-

 4   petition in Two-Sided Markets, 1 J. EUR. ECON. ASSN. 990, 1013 (2003)). For the In-App After-

 5   market, Dr. Singer uses a standard single-sided economic model to determine competitive prices,

 6   because absent Google’s anticompetitive insertion of itself into the transaction, aftermarket trans-

 7   actions would involve solely the developer and consumer. Ex. 2 (Singer Rpt.) at ¶ 33. In both

 8   cases, Dr. Singer’s models generate competitive take rates that can determine classwide impact.

 9           For the Android App Distribution Market, Dr. Singer calibrates the Rochet-Tirole model

10   for the specific circumstances presented in this case and computes a competitive price in a com-

11   petitive market with at least one other comparable app store. Ex. 2 (Singer Rpt.) at ¶¶ 184-194. Dr.

12   Singer’s analysis confirms that Google’s dominance in the Android App Distribution Market en-

13   ables Google “to extract a supra-competitive take rate on all paid App downloads.” Id. at 72 ¶ 169.

14   He determines that Google’s average take rate on app sales would fall from               —which is

15   slightly below the “headline” take rate of 30% due to discounts Google gives certain developers—

16   to a “but-for take rate” of      for initial downloads of an app. Id. at 91 ¶ 205. Recognizing that

17   the take rate for some developers deviates from the headline rate, Dr. Singer determines that the

18   competitive take rates for these developers can be computed by applying the same proportion of

19   real-world discounts to the competitive anchor rate. Ex. 2 (Singer Rpt.) at ¶¶ 194, 259.

20           To supplement his modeling, Dr. Singer compares platform take rates for similar two-sided

21   digital platforms without the anticompetitive restraints Google imposes. Id. at ¶¶ 195-205 & Table

22   4. That comparative analysis shows Google’s average            take rate is significantly higher than

23   in comparable digital platforms in competitive environments, which range from 18% to 25%, con-

24   firming Google’s supra-competitive pricing across the class. Id. at ¶ 205.

25           As he does with the Android App Distribution Market, Dr. Singer uses a well-accepted

26   economic model to determine whether Google charges supra-competitive take rates in the In-App

27   Aftermarket and to quantify any resulting damages to consumers. The model, which considers

28   Google’s marginal costs, demand elasticities, and other factors, incorporates the common-sense




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 1   economic principle that as competition increases, Google’s take rate would be pushed “closer to

 2   the marginal cost of providing any services associated with In-App Content,” while allowing

 3   Google a premium above marginal cost to account for consumer brand loyalty to Google. Id. at

 4   ¶¶ 208-13. Calibrating that model for the facts of this case, Dr. Singer concludes that Google’s

 5   take rate in the competitive In-App Aftermarket would be                     considerably lower than

 6   Google’s actual average take rate of          for in-app purchases. Id. at ¶¶ 206-220 & Table 5.

 7          Again, Dr. Singer reviews common evidence on the relevant competitive landscape to con-

 8   firm his results. While payment processing alone is not the only service provided by Google in the

 9   aftermarket, it is “a key component of [those] services.” Id. at ¶ 221. Examining the take rates

10   charged in the highly competitive payment processing industry with capable participants such as

11   PayPal, Stripe, and Amazon Pay, Dr. Singer finds “materially lower” take rates ranging from ap-

12   proximately 2.9-3.95%, with varying fixed fees. Id. at 101, ¶ 221 & Table 6. This corroborates that

13   Google’s competitive take rate for in-app purchases would be significantly lower than the

14   that Google charges today. Id. at 101 ¶ 221 & Table 6. Because these potential competitors are

15   currently foreclosed by virtue of Google’s tie from competing with Google in the In-App After-

16   market for the full range of services provided by Google Play Billing, allowing entry by these and

17   other firms in the but-for world would have effects classwide. Ex. 2 (Singer Rpt.) at ¶¶ 138, 207.

18          B.      Common Economic Evidence Shows that All or Virtually All Class Members
                    Are Injured by Google’s Conduct
19
            Because the precise ways in which competition would develop in a but-for world are dif-
20
     ficult to predict due to Google’s conduct, Dr. Singer models two potential but-for worlds, each
21
     with common methods.12 First, a rival app store would force Google to compete by offering de-
22
     velopers a lower take rate. Dr. Singer models consumer impact from this outcome by calculating
23
     pass-through from developers of savings from the lower take rates. Id. § V.D. Second, a rival app
24
25
     12
         Plaintiffs are not required to predict exactly how competition would manifest itself. See, e.g., In
26   re Elec. Books Antitrust Litig., No. 11-MD-2293 (DLC), 2014 WL 1282293, at *27 (S.D.N.Y.
     Mar. 28, 2014) (it was “unsurprising” that an economic expert “did not develop an opinion about
27   ... important features of a but-for world” because, “[a]fter all, the but-for world does not exist”); J.
     Truett Payne Co., Inc. v. Chrysler Motors Corp., 451 U.S. 557, 566 (1981) (“The vagaries of the
28   marketplace usually deny us sure knowledge of what plaintiff’s situation would have been in the
     absence of the defendant’s antitrust violation.”).


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 1   store would force Google to compete by offering consumers incentives in the form of coupons or

 2   reward points. Dr. Singer separately models the impact of these increased consumer incentives. Id.

 3   § V.E. Both models lead to the conclusion that all or virtually all consumers would benefit in a

 4   world free of Google’s anticompetitive conduct.

 5          First, Dr. Singer’s models show that all or almost all class members would have benefited

 6   from lower prices resulting from reduced take rates. Ex. 2 (Singer Rpt.) at ¶¶ 223-226. Dr. Singer

 7   applies a commonly used logit demand system to model demand curves and developer pass-on of

 8   the reduced take rates discussed above for each of the thirty-five categories of apps the Google

 9   Play Store uses Id. at V.D.3. Dr. Singer’s calculations show the pass-through rates ranging from

10                     depending on the application category. Id. at ¶ 239 & Table 8. As with his other

11   econometric modeling, Dr. Singer confirms his analysis by referencing real-world evidence of

12   pass-through from 33% to 105% by apps that can avoid Google’s In-App Aftermarket restrictions

13   or Apple’s similar restraints. Id. at ¶¶ 241-244.

14          Second, Dr. Singer models an alternative scenario in which Google competes for consum-

15   ers by increasing its Google Play Points loyalty program. Using the Rochet-Tirole model, he finds

16   classwide impact with an average of           in consumer savings per transaction. Id. at § V.E. In

17   this competitive but-for world, which does not depend upon developer pass-on, Google would

18   award Play Points in proportion to all purchases made by Class members, resulting in uniformly

19   lower effective prices, and therefore impact all or virtually all Class members. Id. at ¶ 256.

20          C.      Aggregate Damages Are Calculated on a Classwide Basis
21          Having determined the extent of the overcharge for both app and in-app purchases, Dr.
22   Singer applies those percentages to Google’s respective sales of apps and in-app content to calcu-
23   late aggregate damages nationwide and by state. Id. at ¶ 274, Table 11, & Appendix 6. Dr. Singer
24   calculates the aggregate damages for all consumers nationwide from Google’s overcharge in the
25   Android App Distribution Market to be                  or the Class Period through the end of 2020.
26   Id. In the In-App Aftermarket, where consumers spend much more, he calculates aggregate na-
27   tionwide damages to be                  Id. While unnecessary at this stage, Dr. Singer goes a step
28



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 1   further to show how individual damage calculations can be performed with a common formulaic

 2   method. Id. at § VII & Table 13.

 3                                               ARGUMENT

 4          A party seeking class certification must prove that the proposed class “satisfies the four

 5   requirements of Rule 23(a): (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of

 6   representation.” Senne v. Kansas City Royals Baseball Corp., 934 F.3d 918, 927 (9th Cir. 2019)

 7   (cleaned up). The “proposed class must also meet the requirements of one or more of the ‘three

 8   different types of classes’ set forth in Rule 23(b).” Id. Here, Plaintiffs propose two classes, one

 9   seeking money damages under Rule 23(b)(3), and the other seeking injunctive relief under Rule

10   23(b)(2). A (b)(3) damages class is appropriate when two additional elements are met: predomi-

11   nance and superiority. Fed. R. Civ. P. 23(b)(3). “Rule 23(b)(2), on the other hand, requires only

12   that the party opposing the class have acted or refused to act on grounds that apply generally to the

13   class.” Senne, 934 F.3d at 928 (cleaned up).

14   I.     THE REQUIREMENTS OF RULE 23(a) ARE MET IN THIS CASE
15          A.      Rule 23(a)(1)’s Numerosity Requirement Is Satisfied
16          Rule 23(a)(1) requires the class to be “so numerous that joinder of all members is imprac-
17   ticable.” Here, there are tens of millions of class members, so numerosity is easily satisfied.
18          B.      Rule 23(a)(2)’s Commonality Requirement Is Satisfied
19          Rule 23(a)(2)’s commonality requirement is met because numerous questions of law and
20   fact related to Google’s unlawful conduct and its uniform impact on the class will be the center-
21   piece of any trial in this action. Rule 23(a)(2) requires the proposed class claims to pose “questions
22   of law or fact common to the class.” In other words, the “claims must depend upon a common
23   contention,” that “must be of such a nature that it is capable of classwide resolution—which means
24   that determination of its truth or falsity will resolve an issue that is central to the validity of each
25   one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
26          “[A] common contention need not be one that will be answered, on the merits, in favor of
27   the class. It only must be of such a nature that it is capable of classwide resolution.” Alcantar v.
28   Hobart Serv., 800 F.3d 1047, 1053 (9th Cir. 2015) (cleaned up) (emphasis added). “Where the



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 1   circumstances of each particular class member vary but retain a common core of factual or legal

 2   issues with the rest of the class, commonality exists.” B.K., by her next friend Tinsley v. Snyder,

 3   922 F.3d 957, 968 (9th Cir. 2019) (cleaned up). “For purposes of Rule 23(a)(2), even a single

 4   common question will do.” Wal-Mart, 564 U.S. at 359 (cleaned up). “Antitrust liability alone con-

 5   stitutes a common question that ‘will resolve an issue that is central to the validity’ of each class

 6   member's claim ‘in one stroke.’” In re High-Tech Employee Antitrust Litig., 985 F. Supp. 2d 1167,

 7   1180 (N.D. Cal. 2013) (quoting Wal-Mart, 564 U.S. at 350).

 8           Plaintiffs’ claims here depend upon several central, common questions of fact and law,

 9   discussed in more detail below, infra Part II.B, each of which focuses on Google’s conduct and

10   are capable of classwide resolution: (1) whether Google has monopoly power in the Android App

11   Distribution Market and the In-App Aftermarket; (2) whether Google’s contractual restrictions on

12   manufacturers, carriers, and developers are unreasonable restraints of trade; and (3) whether

13   Google’s practices impacted class members and resulted in supra-competitive prices paid by con-

14   sumers. Commonality is readily satisfied.

15           C.      Rule 23(a)(3)’s Typicality Requirement Is Satisfied
16           Rule 23(a)(3) requires the claims of a class representative to be “typical” of the claims of
17   the class. “Representative claims are ‘typical’ if they are reasonably coextensive with those of
18   absent class members; they need not be substantially identical.” Ruiz Torres v. Mercer Canyons
19   Inc., 835 F.3d 1125, 1141 (9th Cir. 2016) (cleaned up). “The test of typicality is whether other
20   members have the same or similar injury, whether the action is based on conduct which is not
21   unique to the named plaintiffs, and whether other class members have been injured by the same
22   course of conduct.” Tinsley, 922 F.3d at 970. Plaintiffs’ Sherman Act and state claims are the same
23   as other proposed class members. They are based on the same conduct by Google detailed above
24   resulting in the same measures of damages to all and the identical need for injunctive relief against
25   Google’s anticompetitive conduct. As proposed in Dr. Singer’s report, all class members will be
26   utilizing a common method of demonstrating impact, further showing that the typicality standard
27   is met in this case.
28



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 1          D.      The Rule 23(a)(4) and 23(g) Adequacy Requirements Are Satisfied

 2          The fourth Rule 23(a) requirements is that the representative plaintiffs “fairly and ade-

 3   quately protect the interests of the class.” Rule 23(a)(4). Rule 23(g)(4) also requires class counsel

 4   to “fairly and adequately represent the interests of the class.” “Resolution of two questions deter-

 5   mines legal adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest

 6   with other class members and (2) will the named plaintiffs and their counsel prosecute the action

 7   vigorously on behalf of the class?” In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 291,

 8   308 (N.D. Cal. 2010), abrogated by In re ATM Fee Antitrust Litig., 686 F.3d 741, 755 n.7 (9th Cir.

 9   2012) (cleaned up; quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)).

10          There are no conflicts of interest between the Plaintiffs and the proposed classes. And each

11   of the proposed Class Representatives have, and will continue to, adequately represent the classes

12   by taking an active part in the action. Each has actively participated in discovery, has familiarity

13   with the nature of the action, reviewed the operative complaint before it was filed, and have made

14   Google Play app or in-app purchases on Android devices.13

15          After having been appointed Co-Lead Interim Class Counsel under Rule 23(g)(3),14 pro-

16   posed Co-Lead Class Counsel have vigorously prosecuted the class claims since the inception of

17   this action. They have engaged in nearly 22 months of extensive discovery coordination with

18   Google and the other MDL plaintiffs, including: 17 depositions of Google fact witnesses; prepar-

19   ing for the depositions of numerous critical third-party witnesses; issuing more than 60 third-party

20   subpoenas; meeting and conferring with Google and third parties on discovery issues multiple

21   times a week; and reviewing approximately three million documents produced by Google and

22   hundreds of thousands of documents produced by third parties. They have also hired experts who

23   have worked over the course of a year and a half to develop opinions, including on antitrust injury

24
     13
        See, e.g., Ex. 58 (Carr Tr.) at 20:13-21:9; 23:7-11; 24:10-25:3; 31:4-5; 32:18-34:1; 122:25-
25   123:3; Ex. 59 (Egerter Tr.) at 48:6-49:5; 52:15-53:7; 53:21-54:24; 126:5-126:16; Ex. 60 (Palmer
     Tr.) at 18:12-19:19:24; 25:3-27:4; 39:1-11; 49:17-22; 55:2-56:5; 193:16-21; Ex. 61 (Atkinson Tr.)
26   54:10-57:25; 69:1-70:21; 77:8-80:25; 97:4-99:3; 141:2-142:13; 191:6-24; Ex. 62 (Moglia Tr.) at
27   36:5-37:11; 40:19-46:11; 52:12-61:10; 82:1-83:8; 147:13-151:20; Ex. 63 (Iwamoto Tr.) 14:17-
     15:3; 37:11-38:20; 73:14-75:24; 89:4-20; 121:8-122:18; 131:13-25; 278:7-25.
28   14
        See ECF No. 128. Resumes covering their extensive experience in antitrust litigation are sub-
     mitted again herewith Ex. 64 (Giulianelli Resume); Ex. 65 (Nam and Kaplan Fox Resume).


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 1   and damages and technical issues. Giulianelli Decl. ¶ 2. Finally, Counsel coordinated extensively

 2   with the Court Appointed Consumer Steering Committee,15 and numerous State Attorneys’ Gen-

 3   eral to determine that it was in the best interests of consumers nationwide for Interim Class Counsel

 4   to enter into the Joint Prosecution Agreement, combining resources such that all parties could more

 5   effectively focus on their claims against Google.

 6          The adequacy requirement has been satisfied, and Co-Lead Interim Class Counsel should

 7   be appointed Co-Lead Class Counsel.

 8   II.    RULE 23(b)(3)’S REQUIREMENTS ARE SATISFIED IN THIS CASE
 9          A.      The Predominance Requirement Is Met
10          The predominance requirement is met in this case because the vast majority of important
11   questions will be resolved through classwide evidence. “The predominance inquiry asks whether
12   the common, aggregation-enabling, issues in the case are more prevalent or important than the
13   non-common, aggregation-defeating, individual issues.” Tyson Foods, 577 U.S. at 453 (cleaned up).
14         Predominance is not a matter of nose-counting. Rather, more important questions apt
15         to drive the resolution of the litigation are given more weight in the predominance
           analysis over individualized questions which are of considerably less significance to
16         the claims of the class.

17   In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 557 (9th Cir. 2019) (cleaned up); see also
18   Messner v. Northshore Univ. Health Sys., 669 F.3d 802, 815 (7th Cir. 2012) (“The text of Rule
19   23(b)(3) itself contemplates that such individual questions will be present.”). Courts cannot “de-
20   cline to certify a class that will require determination of some individualized questions at trial, so
21   long as such questions do not predominate over the common questions.” Olean, 31 F.4th at 668.
22          The Supreme Court has said that “[p]redominance is a test readily met in certain cases
23   alleging … violations of the antitrust laws.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625
24   (1997). This is because the focus of an antitrust trial is the defendant’s conduct. The same will be
25   true in this case. Whether Google’s conduct violated federal or state law are not questions that vary
26   from class member to class member.
27
28   15
      The Court appointed Elizabeth Pritzker as liaison counsel, and Nanci Nishimura, Peggy Wedg-
     worth, and George Zelcs as members of the steering committee. ECF No. 128.


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 1                  1.      Plaintiffs’ Sherman Act Claims Present Common Questions That Will
                            Predominate
 2
            Plaintiffs’ Sherman Act Claims depend on proof of Google’s anticompetitive conduct.
 3
     “Section 2 monopolization claims readily lend themselves to common evidence” because they
 4
     require proof of “(1) the possession of monopoly power in the relevant market and (2) the willful
 5
     acquisition or maintenance of that power as distinguished from growth or development as a con-
 6
     sequence of a superior product, business acumen, or historic accident.” In re Glumetza Antitrust
 7
     Litig., 336 F.R.D. 468, 475 (N.D. Cal. 2020) (quoting Alaska Airlines v. United Airlines, 948 F.2d
 8
     536, 541 (9th Cir. 1991)). “Courts have routinely certified classes alleging that a monopolist’s
 9
     conduct caused a direct and uniform overcharge, as overcharge cases often rely on facts common
10
     across the class such as the existence of a relevant market, the defendant’s monopoly power, and
11
     the existence of the illegal course of conduct.” 6 W. RUBENSTEIN, Newberg on Class Actions
12
     § 20:28. (5th ed.) (collecting cases). Plaintiffs’ Section 1 claims likewise turn on common ques-
13
     tions. “[U]nder Section 1, a plaintiff must demonstrate: (1) that there was a contract, combination,
14
     or conspiracy; (2) that the agreement unreasonably restrained trade under either a per se rule of
15
     illegality or a rule of reason analysis; and (3) that the restraint affected interstate commerce.”
16
     Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1062 (9th Cir. 2001) (cleaned up).
17
            The common questions identified above concerning the contours of the relevant markets,
18
     whether Google has power in those markets, and whether Google acquired and maintained power
19
     through a web of exclusionary contracts and conduct will be the overriding focus of any trial. “The
20
     violation turns on defendants’ conduct and intent along with the effect on the market, not on indi-
21
     vidual class members.” In re Glumetza, 336 F.R.D. at 475.
22
            First, the definitions of the relevant markets—and Google’s power in those markets—will
23
     be determined by common evidence. See In re Apple iPhone Antitrust Litig., No. 4:11-cv-06714-
24
     YGR, 2022 WL 1284104, at *11 (N.D. Cal. Mar. 29, 2022) (expert’s “opinion on market definition
25
     constitutes common proof that could resolve whether a relevant market exists”). Though Google
26
     does not challenge market definition for purposes of class certification, it may be disputed at trial,
27
     and resolution of that issue will turn on mountains of common evidence, as will a determination
28
     of Google’s power in that market. Both will include common economic analysis of issues such as


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 1   Google’s market share and ability to exclude competition and to raise prices above competitive

 2   levels. Supra Statement of Common Facts § II; see In re Live Concert Antitrust Litig., 247 F.R.D.

 3   98, 131 (C.D. Cal. 2007) (“the Court’s focus is the process of defining the relevant market, and

 4   this process will clearly be predominated by common questions of law and fact”).

 5          Second, and central to the issues of this litigation, Google’s pattern of unlawful conduct,

 6   including the seven major areas of conduct set out in Part III of the Statement of Common Facts

 7   above, will be the core of any trial in this action. The facts of Google’s conduct with respect to

 8   carriers, OEMs, developers, and consumers, the application of the law to those facts, and determi-

 9   nations of whether Google’s conduct violates the Sherman Act will be hotly disputed at trial but

10   are all paradigmatic common questions. Each is “of such a nature that it is capable of class wide

11   resolution—which means that determination of its truth or falsity will resolve an issue that is cen-

12   tral to the validity of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. Their

13   determination will be based on common evidence of Google’s conduct, evidence that will not vary

14   from class member to class member.

15          Third, the antitrust impact of Google’s conduct will be proven by common evidence. “A

16   private antitrust plaintiff must prove the existence of antitrust injury, which is to say injury of the

17   type the antitrust laws were intended to prevent and that flows from that which makes defendants’

18   acts unlawful.” Ellis v. Salt River Project Agric. Improvement & Power Dist., 24 F.4th 1262, 1273

19   (9th Cir. 2022) (cleaned up). At the class certification stage, “[w]hat really matters is whether the

20   class can point to common proof that will establish antitrust injury … on a class wide basis.” In re

21   Capacitors III, No. 17-md-02801-JD, 2018 WL 5980139, at *8 (N.D. Cal. 2018) (cleaned up).

22   Through the expert testimony of Dr. Singer described above, supra § IV.A-B, Plaintiffs will pre-

23   sent extensive statistical and econometric evidence that all or nearly all class members were in-

24   jured. Giuliano v. Sandisk Corp., No. C 10-02787 SBA, 2015 WL 10890654, at *17 (N.D. Cal.

25   May 14, 2015) (“the relevant question is whether Plaintiffs have advanced a plausible methodol-

26   ogy to demonstrate that antitrust injury and damages can be proven on a class-wide basis through

27   the use of a common methodology”). As discussed above, Google documents and testimony, along

28   with industry benchmarks, will further substantiate that Google caused antitrust injury. Consumers




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 1   “forced to pay an alleged monopolistic overcharge … have satisfied the antitrust injury require-

 2   ment.” Goldwasser v. Ameritech Corp., 222 F.3d 390, 398 (7th Cir. 2000) (cleaned up).

 3          Fourth, damages also present common questions that can be resolved classwide through

 4   economic evidence. As discussed above, Dr. Singer has calculated aggregate overcharges using

 5   well-accepted economic methodologies that are common to the entire class. Ex. 2 (Singer Rpt.) at

 6   130. He has also gone a step further and has shown how individualized damage calculations can

 7   be performed in a common, formulaic manner. Id. at 131-34, § VII & Table 13.

 8          In short, each of the major questions of fact and law that will be resolved at trial will turn

 9   on common questions, which will predominate over any individual issues.

10                  2.     Plaintiffs’ State Law Claims Present Common Questions That Will
                           Predominate
11
            Plaintiffs’ state law claims present common questions because all such claims are governed
12
     by California law and implicate the same common facts discussed above. For the entire class pe-
13
     riod, Google’s Terms of Services have provided that “California law will govern all disputes aris-
14
     ing out of or relating to these terms, service-specific additional terms, or any related services,
15
     regardless of conflict of laws rules.” See Ex. 66, Google Policies, Terms of Services (eff. Jan. 5,
16
     2022), https://policies.google.com/terms; Ex. 67, Google Policies, Google’s Archived Terms of
17
     Services, https://policies.google.com/terms/archive (links to March 31, 2020 Terms; October 25,
18
     2017 Terms; and April 14, 2014 Terms). California law thus applies to all class members.
19
            Plaintiffs’ Cartwright Act claims (Counts 7-10) and federal claims are based on the same
20
     unlawful conduct. They therefore pose the same common predominating questions of fact identi-
21
     fied above. See, e.g., Flagship Theatres of Palm Desert, LLC v. Century Theatres, Inc., 55 Cal.
22
     App. 5th 381, 399 (2020) (noting similarity of Sherman Act and Cartwright Act analysis of key
23
     antitrust issues). Plaintiffs’ California Unfair Competition Law claim (Count 11) also presents
24
     common questions, including whether Google has engaged in deceptive or unfair trade practices.
25
                    3.     Common Questions Predominate on Impact and Damages
26
            As described in Part IV.B., Dr. Singer has established a common economic framework to
27
     demonstrate that all or nearly all proposed class members are impacted by Google’s restrictions.
28



                                             20
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 1   And as described in Part IV.C., he has also shown the aggregate damages suffered by proposed

 2   class members, as well as a methodology to calculate individual damages.

 3           Consumers expect that Google will use the report of its economist, Dr. Burtis, to argue that

 4   there is too much heterogeneity in the market to find common impact in the counterfactual but-for

 5   world. But “variations in products and complexities in a distribution chain do not preclude an

 6   estimation of whether an overcharge impacted end purchasers.” In re Disposable Contact Lens

 7   Antitrust Litig., 329 F.R.D. 336, 420 (M.D. Fla. 2018) (quoting In re TFT-LCD (Flat Panel) Anti-

 8   trust Litig., 267 F.R.D. 583, 603 (N.D. Cal. 2010), amended in part, No. M 07-1827 SI, 2011 WL

 9   3268649 (N.D. Cal. July 28, 2011)); see also In re Suboxone (Buprenorphine Hydrochloride and

10   Nalaxone) Antitrust Litig., MDL No. 2445, 13-md-2445, 2019 WL 4735520, at *31 (E.D Pa. Sep.

11   27, 2019) (noting that “district courts have ... rejected contentions ... that differences in purchasing

12   decisions defeated class certification on issues of antitrust impact” and citing cases). None of the

13   hypothetical issues Google may raise defeat predominance in this case.

14           First, Dr. Burtis claims that Google would engage in highly individualized take-rate nego-

15   tiations with developers in a competitive but-for world, complicating common impact. Ex. 7 (Bur-

16   tis Rpt.) § VI.A. But Dr. Burtis’s speculation does not track Google’s behavior in the actual

17   world—where it has kept its take rate largely uniform, with adjustments largely in the context of

18   formulaic programs or                                                  Ex. 3, Singer Reply Rpt. ¶¶ 8-

19   10. Nor does she explain why Google would change that approach when faced with competition

20   or how it would be feasible for Google to individually negotiate with thousands of developers. In

21   any event, Dr. Singer’s methodology allows for common calculation of reduced take rates from

22   the “headline take rate” in the but-for world. As Dr. Singer explains, “it is reasonable to assume

23   that those developers that secured discounts off the inflated rate of 30 percent would have also

24   secured the discounts off a lower, headline rate.” Ex. 3, Singer Reply Rpt. ¶ 7.

25           Consistent with this, the Ninth Circuit has held that antitrust schemes can affect “all market

26   participants, creating an inference of class-wide impact even when prices are individually negoti-

27   ated,” and it rejected “different bargaining power” among market participants as a rationale for

28   denying class certification in antitrust cases. Olean, 31 F.4th at 671, 677 (citing In re Urethane




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 1   Antitrust Litig., 768 F.3d 1245, 1254 (10th Cir. 2014); In re Fine Paper Antitrust Litig., 82 F.R.D.

 2   143, 151-52 (E.D. Pa. 1979) (granting certification despite concerns about diversity of product,

 3   marketing practices, and pricing in conspiracy cases because conspiracy is “the overriding pre-

 4   dominant question”). The Ninth Circuit further held that there are well-accepted econometric tech-

 5   niques—some of which Dr. Singer utilized in this case—for demonstrating “antitrust impact in

 6   markets with individualized differences among purchasers.” Olean, 31 F.4th at 674; see also In re

 7   Vitamins Antitrust Litig., 209 F.R.D. 251, 260 (D.D.C. 2002) (rejecting argument that a putative

 8   class of “diverse businesses, facing different competitive environments and paying widely differ-

 9   ent prices” defeats certification).

10           Second, Dr. Burtis argues that consumers who exclusively make low-dollar purchases

11   would be unharmed because of allegedly high per-transaction fees for low-dollar-value transac-

12   tions from third-party payment processors. But this, too, ignores prevailing practices involving

13   “micropayment” rates. Ex. 3 (Singer Reply) at ¶ 15. Further, in a more competitive world, eco-

14   nomics predicts that competing payment processors would eschew minimum per transaction fees

15   (as they already have) if they want to win the business of lower-priced apps. Ex 3, Singer Reply

16   Rpt. ¶ 14-16. Differences in payment processing costs for small transactions—to the extent they

17   even exist—do not require individualized analysis. See In re Mercedes-Benz Antitrust Litig., 213

18   F.R.D. 180, 187 (D. N.J. 2003) (rejecting contention that “the idiosyncrasies of each transaction

19   also preclude the possibility that common issues will predominate on the element of impact.”).

20           Third, Dr. Burtis argues that individualized inquiry is required to determine some devel-

21   opers’ marginal costs, pricing strategies, and competitive conditions, and, accordingly, the degree

22   of pass-on to consumers. Ex. 5, Burtis Rpt. §§ VI.B.1, VI.B.2, VI.B.3. But as explained in Dr.

23   Singer’s reply report, many of Dr. Burtis’s assertions rest on shaky or speculative factual founda-

24   tions, and Dr. Singer’s methodology is not compromised by any such differences. Ex. 3, Singer

25   Reply Rpt. ¶¶ 21-32. For instance, while Dr. Burtis claims that developer “focal point” pricing

26   ending in $.99 would prevent pass-on for many applications in a competitive world, she ignores

27   the evidence that (1) Google until very recently prohibited U.S. developers from charging less than

28   $.99; and (2) even in the actual world, when developers are allowed to steer, a significant number




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 1   speculation that Google might take steps in the but-for world that differentially impact the class,

 2                                                          does not defeat the predominance of common

 3   questions. In re Microcrystalline Antitrust Litig., 218 F.R.D. 79, 92-93 (E.D. Pa. 2003) (“Antitrust

 4   cases nearly always require some speculation as to what would have happened under competitive

 5   conditions … but this is not fatal to class certification.”)

 6           Any attempt by Google to inject individualized issues is unavailing. The central issues in

 7   this case—Google’s anticompetitive monopolization and its common impact on consumers—will

 8   be tried through evidence common to the class, which is why monopolization cases are readily

 9   certified. See In re Glumetza, 336 F.R.D. at 475 (N.D. Cal. 2020).

10           B.      The Superiority Requirement Is Met
11           Rule 23(b)(3) provides a non-exhaustive list of four factors “[a]s an aid for determining the
12   superiority question.” Kamm v. Calif. City Dev. Co., 509 F.2d 205, 212 (9th Cir. 1975). “Rule
13   23(b)(3)’s superiority test requires the court to determine whether maintenance of this litigation as
14   a class action is efficient and whether it is fair.” Wolin v. Jaguar Land Rover N. Am., LLC, 617
15   F.3d 1168, 1175-76 (9th Cir. 2010). As for class members’ interests in individually controlling the
16   prosecution or defense of separate actions, “where recovery on an individual basis would be
17   dwarfed by the cost of litigating on an individual basis, this factor weighs in favor of class certifi-
18   cation.” Id. at 1175. The second and third factors—litigation already begun and desirability of
19   concentrating the litigation in the particular forum—favor certification. Google antitrust litigation
20   is already “concentrated” before this Court. The first and fourth factors—class members’ interests
21   in individually controlling the prosecution and manageability—also favor certification. Litigating
22   Plaintiffs’ claims as a class action will be fair, efficient, and superior to other available methods
23   for fairly and efficiently adjudicating the controversy.
24   III.    THE REQUIREMENTS OF RULE 23(b)(2) ARE SATISFIED IN THIS CASE
25
             A class seeking injunctive or declaratory relief should be certified if “the party opposing
26
     the class has acted or refused to act on grounds that apply generally to the class, so that final
27
     injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”
28
     Rule 23(b)(2). “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory



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 1   remedy warranted—the notion that the conduct is such that it can be enjoined or declared unlawful

 2   only as to all of the class members or as to none of them.” Wal-Mart, 564 U.S. at 360 (cleaned up).

 3   “These requirements are unquestionably satisfied when members of a putative class seek uniform

 4   injunctive or declaratory relief from policies or practices that are generally applicable to the class

 5   as a whole.” Parsons v. Ryan, 754 F.3d 657, 688 (9th Cir. 2014).

 6          In this case, Rule 23(b)(2)’s straightforward requirement is plainly met. The evidence

 7   Plaintiffs have presented in support of their certification motion, discussed more fully above,

 8   demonstrates that Google has acted “or refused to act on grounds generally applicable to the class,

 9   thereby making appropriate final injunctive relief or corresponding declaratory relief with respect

10   to the class as a whole.” Fed. R. Civ. P. 23(b)(2).

11          Google’s conduct at issue is not specific to any consumer. Google has acted “on grounds

12   that apply generally to the class.” If that conduct violates the Sherman Act, the Cartwright Act, or

13   Unfair Competition Law then a declaration that Google’s conduct is unlawful, and an injunction

14   enjoining Google from continuing to engage in that conduct, would be “appropriate respecting the

15   class as a whole.” Parsons, 754 F.3d at 689. “Because an injunction would offer all class members

16   ‘uniform relief’ from [ongoing antitrust harms], class certification is appropriate under Rule

17   23(b)(2).” In re NCAA Student-Athlete Name & Likeness Licensing Litig., No. C 09-1967 CW,

18   2013 WL 5979327, at *7 (N.D. Cal. Nov. 8, 2013) (certifying (b)(2) class in Sherman Act case).

19                                             CONCLUSION

20          This case presents numerous, pivotal common questions of law and fact. The evidence at

21   trial will plainly focus on Google’s conduct, not issues or evidence specific to individual plaintiffs.

22   Moreover, as Dr. Singer has demonstrated, Plaintiffs will rely on economic models that generate

23   common answers to those questions. Plaintiffs have, therefore, demonstrated that the injuries they

24   and class members have sustained are classwide and warrant classwide relief. The requirements of

25   Rule 23 are satisfied in this case, and the Court should therefore certify the proposed classes.

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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that a true and correct copy of the foregoing was served on

 3   May 26, 2022 upon all counsel of record via the Court’s electronic notification system.

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